     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 1 of 30



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

ROGER KRUEGER, et al.,

                             Plaintiffs,
v.                                                 No. 11-CV-02781 (SRN/JSM)

AMERIPRISE FINANCIAL, INC., et al.,                Hearing Date: December 5, 2014

                             Defendants.


                   MEMORANDUM IN SUPPORT OF
       DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants respectfully move for partial summary judgment pursuant to Federal

Rule of Civil Procedure 56 on two separate bases. In Part A, defendants seek summary

judgment on plaintiffs’ claims that defendants breached their fiduciary duties under

ERISA by failing to remove certain affiliated investment options from the Ameriprise

Financial, Inc. 401(k) Plan at some point after their initial selection. In Part B,

defendants seek summary judgment as to all claims against two of the individual

defendants, Michelle Rudlong and Brent Sabin.

                            SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate if—after viewing the facts and the inferences

drawn from those facts in the light most favorable to the nonmoving party—the record

shows that there is no genuine issue of material fact related to the moving party’s

arguments. Prudential Ins. Co. of Am. v. Nat’l Park Med. Ctr., 154 F.3d 812, 818 (8th

Cir. 1998) (citing Fed. R. Civ. P. 56(c)). Once the moving party has properly supported

its motion for summary judgment, the non-moving party must “do more than simply
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 2 of 30



show there is some metaphysical doubt as to the material facts,” Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986), and must go beyond the pleadings

by using depositions, answers to interrogatories, or other evidence to designate specific

facts that show there is a genuine issue for trial. Givens v. Wilson Trailer Co., 2014 U.S.

Dist. LEXIS 141130, *7-8 (N.D. Iowa Sept. 30, 2014), citing Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). “Evidence, not contentions, avoids summary judgment.”

Reasonover v. St. Louis County, 447 F.3d 569, 578 (8th Cir. 2006) (quotations omitted).

Where the non-moving party’s theory is implausible, the moving party is entitled to

summary judgment. Corcoran v. Land O’ Lakes, Inc., 39 F. Supp. 2d 1139, 1153 (N.D.

Iowa 1999); see also Sphere Drake Ins. PLC v. Trisko, 24 F. Supp. 2d 985, 996 (D. Minn.

1998) (“We cannot say that the Plaintiffs’ theory of loss . . . is so implausible as to

preclude its submission to the Jury . . .”) Accordingly, where plaintiffs fail to point to

any plausible evidence or inferences supporting their claim—especially where common

sense weighs strongly against plaintiffs’ claim—summary judgment should be granted.

       Further, at this juncture, plaintiffs should be held to their claims as described in

their complaint and their responses to defendants’ interrogatories. Schaller Tel. Co. v.

Golden Sky Sys., 298 F.3d 736, 746 (8th Cir. 2002) (leaving in place the district court’s

finding that the plaintiff “was bound to the allegations in its sworn interrogatory answers”

at the summary judgment stage of the case); see also Greyhound Lines, Inc. v. Miller, 402

F.2d 134, 143 (8th Cir. 1968) (“The purpose of our modern discovery procedure is to

narrow the issues, to eliminate surprise, and to achieve substantial justice.”); Am. Med.

Sys. v. Laser Peripherals, LLC, 712 F. Supp. 2d 885, 901 (D. Minn. 2010) (holding that

                                              2
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 3 of 30



where an expert “did not opine at all” about the obviousness of a patent that the other

party “would be harmed if required to respond to expert opinions not yet disclosed”).

Plaintiffs may not provide vague discovery responses to “hide the ball about the nature of

[their] claims or theory of recovery until the summary judgment phase of the

proceedings.” Schaller Tel. Co. v. Golden Sky Sys., 139 F. Supp. 2d 1071, 1103 (N.D.

Iowa 2001), aff’d, 298 F.3d 736 (8th Cir. 2002). Thus, where a claim as described in

plaintiffs’ discovery responses is not factually supported, that claim may not survive

summary judgment. McDonald v. City of St. Paul, 679 F.3d 698, 706–07 (8th Cir. 2012)

(affirming the grant of summary judgment for defendants of a conspiracy claim as

described in an interrogatory response).

                                           PART A

                                     INTRODUCTION

       Even though the ERISA statute and regulations expressly permit financial services

companies to include affiliated funds in their own 401(k) plans, plaintiffs assert two

separate breach of fiduciary duty claims against Ameriprise for allowing its employees

the option of investing their accounts in the Ameriprise 401(k) Plan (the “Plan”) in

affiliated Ameriprise funds. First, plaintiffs allege that defendants1 acted imprudently

and disloyally in violation of ERISA’s fiduciary duty obligations when they selected


1
 “Defendants” are Ameriprise Financial, Inc., Ameriprise Financial, Inc. Employee
Benefits Administration Committee, Michelle Rudlong, Ameriprise Financial, Inc. 401(k)
Investment Committee, Compensation and Benefits Committee of the Board of Directors
of Ameriprise Financial, Inc., Martin S. Solhaug, and Brent Sabin.


                                             3
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 4 of 30



affiliated funds for inclusion in the Plan’s investment menu. Second, plaintiffs purport to

pursue the distinct theory that defendants separately breached their fiduciary duties by

failing to remove the affiliated investment funds from the Plan’s line-up at some later

time after their selection.

       For plaintiffs to state a distinct failure to remove claim, plaintiffs must offer

evidence of post-selection events, attributes, or changed circumstances that rendered a

given affiliated investment option unsuitable for the Plan. Here, after being ordered by

the Court to define their failure to remove contentions, plaintiffs allege that defendants

breached their fiduciary duties on “day two of the Plan’s investment option’s inclusion in

the Plan line-up and each day thereafter” and the “earliest date” defendants failed to

remove the option was the date of the next meeting of the 401(k) plan investment

committee (“KIC”), which, in most cases was less than three weeks later.2 There is no

set of facts that might support these claims, nor have plaintiffs or their experts attempted

to identify any. At most, plaintiffs have offered only the vague suggestions from one of

their experts that prudent fiduciaries would have removed the RiverSource Balanced

Fund and Retirement Plus Funds after certain periods of underperformance and other

events all well after “day two.” But even if plaintiffs are released from their interrogatory

responses and allowed to rely on their expert’s suggestions, the undisputed evidence

shows that the Plan and participants suffered no losses from the retention of these funds


2
  Ex. A, Pls.’ Second Supplemental Interrog. Answers (emphasis added). Exhibit
references are to the Declaration of Benjamin Bradshaw, filed herewith.


                                              4
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 5 of 30



after the date of the purported failure to remove. Defendants are accordingly entitled to

summary judgment.3

                                   STATEMENT OF FACTS

       That plaintiffs are asserting two distinct legal theories within Count I—an

imprudent selection claim and a failure to remove claim—has not always been clear.

Plaintiffs’ Second Amended Complaint (“SAC”) includes no specific allegations or facts

about plaintiffs’ failure to remove claims.4 (Dkt. No. 228, SAC.) The SAC does not

even identify the date on which each of the affiliated funds (if judged to have been

prudently selected) somehow became imprudent due to later developments. Defendants
3
  Defendants are not moving for summary judgment on plaintiffs’ selection claims, i.e.,
plaintiffs’ contention that in initially selecting affiliated investment options for the Plan’s
line-up, defendants violated ERISA’s fiduciary duty requirements. Nor are defendants
moving for summary judgment on plaintiffs’ claims—closely analogous to their initial
selection claims—that defendants breached duties in deciding to retain affiliated funds
that the Plan inherited at the time of its creation on October 1, 2005, by virtue of the spin-
off from American Express, or that entered the Plan by virtue of a fund merger. For these
carryover funds, there was no initial selection decision by Plan officials—the initial
fiduciary action was to retain the funds; defendants acknowledge that plaintiffs claim that
the fiduciaries should have removed these carryover funds at their first opportunity (i.e.,
the very next KIC meeting), or for the RiverSource Balanced Fund in approximately
2006, and defendants do not seek summary judgment on such claims. However, to the
extent plaintiffs purport to pursue alternative claims that—even if defendants’ initial
decision to retain the carryover funds is judged prudent—later circumstances should have
caused defendants to remove those funds, defendants seek summary judgment on those
alternative claims on the grounds set forth in this motion.
4
 Plaintiffs represented to the Court that these claims have always been in their complaint,
pointing to paragraphs 94, 114, and 115 of the SAC. These paragraphs, however, make
no reference to a retention or “failure to remove claim.” (Dkt. No. 228, SAC.)




                                              5
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 6 of 30



accordingly served contention interrogatories seeking whether, among other things,

plaintiffs intended to bring a failure to remove claim and information regarding the

contours of that claim, including the period in which each of the funds was purportedly

“maintained” in the Plan in violation of ERISA. (Dkt. No. 432-1, Def.’s Second Set of

Interrogs. to All Pls.)

       Plaintiffs objected to the interrogatories as “premature,” arguing that they should

not be required to reveal their contentions “until discovery is completed.” (Dkt. No. 231-

1, Pls. Answers to Defs.’ Second Set of Interrogs. to All Pls.) Discovery proceeded over

many months and on April 10, 2014, once discovery was nearly complete, defendants

again conferred with plaintiffs, reminding them that:

       [Defendants] are also entitled to know, assuming the court were to reject
       plaintiffs’ contention that a given option was imprudently added to the
       Plan’s lineup, plaintiffs contend that option was imprudently retained in the
       Plan’s lineup—and, if so, when plaintiffs contend a prudent fiduciary
       would have removed the previously selected option.

(Dkt. No. 432-2, April 10, 2014 Letter to Pls (emphasis in original).)

       Plaintiffs never challenged defendants’ characterization of the interrogatories, nor

sought to meet and confer to clarify the request. (Dkt. No. 431-0, Decl. of Brian Boyle In

Support of Mot. to Compel (“Boyle Decl.”).) Instead, plaintiffs quietly agreed to

supplement their responses at a later date after the close of the discovery. (See id.; see

also Dkt. No. 421, Fifth Am. Pretrial Scheduling Order (ordering close of discovery on

July 1, 2014 and plaintiffs’ supplementation on July 7, 2014).)




                                              6
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 7 of 30



       Plaintiffs supplemented their responses on July 7, 2014. In their responses,

plaintiffs listed the entire period for which every fund—affiliated and non-affiliated5—

was in the Plan’s investment line-up as the period for which they claimed the options

were imprudently maintained in the Plan. Plaintiffs’ response did not identify any

distinct failure to remove claims that plaintiffs would pursue if their initial selection

claims were rejected. (Dkt. No. 432-3, Pls.’ Supplemental Objections and Answers to

Defs.’ Second Set of Interrogs. to All Pls.) On July 9, 2014, defendants wrote plaintiffs,

observing that these answers “appear to describe a singular claim.” (Dkt. No. 432-4, July

9, 2014 Letter to Pls.) Plaintiffs rejected this notion, insisting that they “are alleging both

the imprudent selection and the imprudent retention of Plan investments, among other

claims.” (Dkt. No. 432-5, July 11, 2014 Letter to Defs.) Nevertheless, plaintiffs refused

to provide any further information about the claims, including the dates on which they

contend that any previously selected affiliated funds became imprudent due to changes in

circumstance. (Id.) Given the impasse, defendants moved to compel plaintiffs to provide

specific information about their failure to remove claims. (Dkt. No 430, Mem. in Support

of Defs.’ Mot. to Compel.)

       At oral argument on defendants’ motion to compel, plaintiffs confirmed to Judge

Mayeron that they were pursuing distinct initial selection and failure to remove claims.

In response to Judge Mayeron’s clarifying statement: “It sounds like what you’ve just

5
 Plaintiffs’ initial complaint did not challenge the selection or retention of non-affiliated
funds in the Plan. The Court has denied plaintiffs’ motion for leave to file a third
amended complaint. (See Dkt. No. 508.)


                                               7
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 8 of 30



said to me is, yes, you’re making both claims . . . that separately you will be arguing at

some point along the way each and every one of these options should have been removed

from the Plan [assuming the initial inclusion was prudent],” counsel for plaintiffs said

“[c]orrect, Your Honor.” (Ex. G, Hr’g Tr. 45:15–23 (emphasis added); see also id. at

47:1–4 (Judge Mayeron: “you’re telling me you have alternative claims in your

complaint, you have a selection claim and you have a retention claim”; plaintiffs’

response: “We do, yes.”).) Thus, for example, “even if [selection] wasn’t [judged]

improper in September 2006,” plaintiffs confirmed that they plan to assert that “at X date

it was improper to maintain those particular items in the plan and here are the various

reasons why.” (Id. at 43:12–20 (responding affirmatively to court question).) Plaintiffs

promised that they could present “evidence of when additional facts, material information

arose where prudent fiduciaries should have taken action.” (Id. at 47:4–8)

       With that understanding of plaintiffs’ failure to remove claim, the Court ordered

plaintiffs to “provide the earliest date that [plaintiffs] are claiming that a prudent

fiduciary . . . would have removed that previously selected option,” assuming “that the

selection was proper, meaning there was no breach of fiduciary duties with respect to the

selection.” (Id. at 54:3–12 (emphasis added).) Put differently, “if selection is deemed to

be not a violation of ERISA and you’re going to claim that at some point any of these

options should have been removed under any of the duties under ERISA, tell us the date.”

(Id. at 56:21–57:5; see also Dkt. No. 449, Order Granting In Part and Denying In Part

Defs.’ Mot. to Compel.)



                                               8
       CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 9 of 30



         In response to the Court’s order granting in part defendants’ motion to compel,

plaintiffs supplemented their interrogatory responses by stating that “for each investment

option identified below [including all affiliated funds except the Stable Value Fund], the

date that Defendants subsequently breached their duties following the date the Plan

investment option was available to the Plan is day two of the Plan investment option’s

inclusion in the Plan lineup and each day thereafter.” (Ex. A, Pls.’ Second Supplemental

Interrog. Answers, at 14, 27 (emphasis added).) Plaintiffs then provided a chart in which

they identified the date of the next scheduled KIC meeting occurring after the affiliated

fund’s inclusion in the Plan—none more than 40 days and most less than 19 days later—

as the “Court ordered ‘earliest date’ of breach for failure to remove.” (Id. at 15–18, 28–

31.)

         Plaintiffs offered no evidence—as part of their interrogatory responses or their

experts’ reports—to support their “day two” failure to remove claims. Nowhere did they

describe facts showing any post-selection change of circumstances for any of the

affiliated funds within the one-month—let alone one-day—period stated in their answers

to interrogatories. Plaintiffs were similarly silent on damages related to their failure to

remove claims. Plaintiffs’ expert, Dr. Steve Pomerantz, calculated purported damages

for the Plan and participants only from the date of selection (or, in the case of carryover

funds or funds added by merger, the date of their introduction into the Plan) through the

end of the fund’s tenure in the Plan, or through the latest date covered by available

transactional data. (See Ex. B, Pomerantz Report, Exs. 2–3 (showing calculations

through 2013).) No plaintiffs’ expert has disclosed damages calculations for any distinct

                                               9
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 10 of 30



failure to remove claim, either from “day two” of the fund’s tenure or from the day of the

next KIC meeting. And although one plaintiffs’ expert, William E. Fender, discussed in

his report defendants’ purported failure to monitor and replace imprudent investment

options, he did so for only the RiverSource Balanced Fund and the Retirement Plus

Funds,

              . (Ex. C, Fender Report ¶¶ 180, 201, 217.) Defendants’ expert, Dr. Jennifer

Conrad, however, has testified without contradiction that retention of the RiverSource

Balanced Fund

                                                              . (Ex. F, Conrad Report, ¶¶

14, 43, Ex. 3.)

                                         ARGUMENT

I.       PLAINTIFFS HAVE FAILED TO IDENTIFY ANY FACTS THAT
         PLAUSIBLY SUPPORT THE FAILURE TO REMOVE CLAIMS
         DESCRIBED IN THEIR INTERROGATORY RESPONSES.

         After being ordered by the Court, plaintiffs have asserted failure to remove claims

that are premised on the contention that defendants breached their fiduciary duties by

failing to remove the Plan’s affiliated investment products immediately after their

selection. To assert such a claim, plaintiffs cannot simply rely on the continued offering

of the investment options in the Plan or on evidence related to the investment options’

selection. Instead, a separate claim seeking liability for the failure to remove a fund from

the Plan’s investment line-up requires plaintiffs to produce evidence that immediately

following selection, circumstances changed such that what was a prudent selection

suddenly became an imprudent failure to remove. This evidence must be separate and

                                              10
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 11 of 30



distinct from the evidence relating to the funds’ initial selection. Otherwise, plaintiffs’

failure to remove claim is nothing more than another challenge to the initial selection of

the Plan’s affiliated investment options. Plaintiffs have failed to identify any such

evidence, and in fact there is none.

       A.     A Distinct Claim for Failure to Remove a Plan Investment Option
              Requires Facts Showing a Material Change in Circumstances Distinct
              From Those Prevailing at the Time of Selection.
       Imprudent fund selection claims and claims of imprudent failure to remove are

separate theories that turn on distinct evidence. For the first, plaintiffs must show that

fiduciaries failed to act prudently when considering and initially selecting investment

options for the Plan.6 For the second, plaintiffs must show that the fiduciaries breached

“a duty to monitor [the investment manager’s performance] with reasonable diligence

and to withdraw the investment if it became clear or should have become clear that the

investment was no longer proper for the Plan.” Whitfield v. Cohen, 682 F. Supp. 188,

196 (S.D.N.Y. 1988).

       Circuit courts routinely acknowledge the separate and distinct nature of these two

claims and have repeatedly rejected failure to remove claims that are based on the same

allegations as time-barred imprudent selection claims. In Fuller v. Suntrust Banks, Inc.,

the Eleventh Circuit held that where allegations concerning the failure to remove claims

are identical to the allegations concerning the selection of the funds, the plaintiffs had
6
  Plaintiffs’ expert, Mr. Fender, acknowledged the different prudence standards for the
initial selection and the retention of an investment option in a 401(k) Plan investment
line-up. (See, e.g., Ex. D, Fender Dep. 79:8–23; 157:24–158:20, Sept. 19, 2014.)


                                             11
   CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 12 of 30



failed to bring a separate failure to remove claim and barred the claim under the statute of

repose because the selection occurred more than six years prior to the filing of the

complaint. 744 F.3d 685, 701 (11th Cir. 2014). The Ninth Circuit similarly found that

“[c]haracterizing the mere continued offering of a plan option, without more, as a

subsequent breach would render section 413(1)(A) [of ERISA] meaningless.” Tibble v.

Edison Int’l, 729 F.3d 1110, 1120 (9th Cir. 2013) (emphasis added) (internal quotation

omitted), cert. granted, 83 U.S.L.W 3183 (U.S. Oct. 2, 2014) (No. 13-550). And the

Fourth Circuit held the same, basing its decision that plaintiffs’ failure to remove claim

was untenable on the fact that plaintiffs’ claim was “based on attributes of the funds that

existed at the time of their initial selection,” and thus the claim was “at its core, simply

another challenge to the initial selection of the funds to begin with.” David v. Alphin,

704 F.3d 327, 341 (4th Cir. 2013) (emphasis added).

       Consistent with these authorities, Judge Mayeron’s rulings distinguished between

plaintiffs’ theories of imprudent selection and failure to remove. Plaintiffs initially

asserted in their interrogatory responses that the affiliated investment options were

disloyally maintained from the day that the options were added until the day that they

were removed. (Dkt. No. 432-3, Pls.’ Supplemental Objections and Answers to Defs.’

Second Set of Interrogs. to All Pls.) The Court recognized that plaintiffs’ interrogatory

responses could mean one of two things: either plaintiffs were asserting only a

categorical claim that the investments had been selected imprudently and therefore

should not have been in the Plan; or plaintiffs were asserting two claims, one for



                                             12
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 13 of 30



imprudent and disloyal selection of the funds7 and a separate claim for failure to remove

the funds when events or circumstances occurring after the fiduciaries’ initial action on

the funds supposedly made them imprudent. (See Ex. G, Hr’g Tr. 42:16–21.)

       The Court expressed “concern” that “if there’s going to be an alternative

contention to selection, then I want to find out where it is that -- well, first of all I want to

find out if there is [one] . . .” (Id.) Once plaintiffs confirmed that it was indeed their

intention to bring a failure to remove claim, the Court ordered plaintiffs to supplement

their responses, requiring plaintiffs to identify “the earliest date that plaintiffs contend a

loyal and prudent fiduciary would have removed each of the previously selected options.

. . assuming that the Court were to reject plaintiffs’ contention that the initial selection or

addition of an option to the Plan’s line-up was a violation of the fiduciaries’ duties of

loyalty and prudence.” (Dkt. No. 449, Order at 1–2.)

       In short, if plaintiffs wish to bring failure to remove claims, they must do more

than show that an affiliated fund was imprudently selected and then remained in the Plan

after selection. Otherwise, that allegation is merely “another challenge” to the imprudent

selection, as the Fourth Circuit held in Alphin, 704 F.3d 327, and as this Court suggested

7
  As noted earlier, defendants understand plaintiffs to challenge defendants’ initial
retention of funds that were carried over from the American Express plan at the time of
Ameriprise’s spin-off from American Express, or that were introduced to the Plan by
merger, without an initial selection decision by defendants. Defendants group these
initial retention claims as to the carryover funds in the same category as plaintiffs’ initial
selection claims, since plaintiffs are challenging the prudence of defendants’ initial
fiduciary action with respect to the funds. Plaintiffs’ challenge to defendants’ initial
action on such funds is not within the scope of this Motion.


                                               13
   CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 14 of 30



in requiring plaintiffs to answer defendants’ interrogatories by assuming that the

affiliated funds had been prudently selected or added to the Plan. To prove the failure to

remove claims, plaintiffs must point to evidence that is not bound up in their selection

claim that would plausibly support a distinct failure to remove breach by Plan fiduciaries:

specifically, material changes in circumstances occurring post-selection that caused the

affiliated funds to become improper for the Plan.

       B.     Plaintiffs Cannot Prove—and Indeed Have Not Even Alleged—Facts
              Plausibly Establishing a Material Change in Circumstances Between
              the Initial Selection of the Challenged Affiliated Funds and the Next
              KIC Meeting.

       Plaintiffs’ failure to remove claims are ripe for summary judgment because there

are no facts to support them—let alone facts sufficient to create a dispute for trial.

       Plaintiffs’ “day two” failure to remove claim is utterly implausible. Plaintiffs’

own expert, Mr. Fender, could not identify any facts in the record to support a “day two”

claim and had difficulty even hypothesizing situations or events that could render a

prudently selected fund an imprudent investment on the very next day. He would need to

be “really imaginative” or “creative,” he said, to come up with such a scenario. (Ex. D,

Fender Dep. 277:21–78:16.) The few situations that Mr. Fender did come up with as

potential events that could lead an initially prudent selection to become immediately

imprudent were “the portfolio manager leaves the next day” (Id. at 275:25–76:10), “[t]he

organization gets sold” (Id. at 276:11–13), or “the co-party that’s guaranteeing the

investment goes bankrupt” where there is co-party liability (Id. at 278:17–79:7). None of

these potential triggers—or anything remotely similar—is present in the record.


                                             14
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 15 of 30



         Plaintiffs’ “next KIC meeting” failure to remove claims fare no better because

plaintiffs have not offered any facts separate and distinct from those that make up their

imprudent and disloyal selection claims. For over half of the KIC-selected funds, the

next KIC meeting fell only five days after the inclusion of the funds in the Plan.8 (Ex. A,

Pls.’ Second Supplemental Interrog. Answers at 15–18.) For all but one of the rest, the

next KIC meeting fell only 11 days later.9 (Id. at 15–18.) The last of the “next KIC

meeting” failure to remove claims—that asserted against the Columbia Contrarian Core

Fund—posits that fiduciaries should have removed the fund only 30 days after it was

included in the Plan. There are no facts in the record that show any change in

circumstances occurring for any of these funds within the first month, let alone the more

aggressive five- and 11-day removal windows plaintiffs define for the majority of the

funds.

         Any “post-KIC meeting” failure to remove claims that plaintiffs may belatedly

attempt to manufacture should also be rejected. The only failure to remove theories

identified in plaintiffs’ Court-ordered supplemental interrogatory responses are that

defendants breached their duties by retaining previously selected funds beyond “day two”

of their tenure, and beyond the date of the first KIC meeting following the selection. It is


8
 These were the Columbia Trust Balanced Fund I, the Columbia Trust Intermediate
Bond Fund A, the Columbia Trust Contrarian Core Fund I, and the Columbia Trust
Diversified Equity Fund I.
9
 These were the Retirement Plus Funds, the Mid Cap Value Fund, and the Diversified
Equity Income Fund.


                                             15
   CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 16 of 30



far too late for plaintiffs to abandon their “earliest date” of breach theories and replace

them. Am. Med. Sys. 712 F. Supp. 2d at 901 (holding that where an expert “did not opine

at all” about the obviousness of a patent that the other party “would be harmed if required

to respond to expert opinions not yet disclosed” during summary judgment). Plaintiffs

have had three separate opportunities to define the contours of their failure to remove

claims and are now “bound to the allegations in [their] sworn interrogatory answers.”

Schaller, 298 F.3d at 746 (affirming summary judgment). Plaintiffs chose arbitrary dates

designed to capture as much of the class period (and corresponding damages) as possible,

and they must be held to that strategic choice.

       Plaintiffs have compounded their evidentiary omissions by failing to develop and

disclose injury or damages testimony corresponding to their separate failure to remove

claims. Plaintiffs’ expert, Dr. Pomerantz, calculated alleged damages only from the date

of each fund’s selection (or initial inclusion in the Plan) to the present; he made no effort

to identify later dates by which defendants should have removed the funds (even if

prudently selected), and no effort to establish that the Plan experienced economic injury

from retention of the funds beyond those dates—much less provide calculations of

damage from those dates. (Ex. B, Pomerantz Report, ¶¶ 47–50.) Even after defendants’

damages expert, Dr. Conrad, submitted calculations showing that plaintiffs suffered no

losses from the defendants’ maintenance of various funds in the Plan after certain dates,

Dr. Pomerantz left his omission unrectified. (Ex. E, Pomerantz Rebuttal Report.) See

Voegeli v. Lewis, 568 F.2d 89, 97 (8th Cir. 1977) (“Discovery of expert opinion must not

be allowed to degenerate into a game of evasion.”).

                                              16
      CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 17 of 30



        Plaintiffs will likely attempt to defend their claim by pointing out that Judge

Mayeron’s order only required them to reveal the “earliest date” for their claims (Ex. G,

Hr’g Tr. 54:9), and that she acknowledged that plaintiffs may be “claim[ing] it was day

two.” (Id. at 58:10–11.) But the “earliest date” requirement or a mention of a “day two”

theory by the Court does not excuse plaintiffs from ensuring their claim meets the

summary judgment standard, which requires plaintiffs to show enough material support

for their position to create a viable issue of fact for trial. In order to support the distinct

failure to remove theories plaintiffs claim to be bringing, plaintiffs must point to a

material change in circumstances following the fiduciaries’ initial action on the funds.

Plaintiffs have failed to meet that obligation—indeed, plaintiffs have chosen dates for

removal that leave no opportunity for plaintiffs to show a plausible change in

circumstances.

II.     PLAINTIFFS HAVE NOT OFFERED ANY TESTIMONY ESTABLISHING
        THAT THE PLAN WAS INJURED BY ANY LATER ALLEGED
        “FAILURE TO REMOVE.”

        Even if plaintiffs are released from their interrogatory responses and allowed to

rely on the few vague suggestions from one of their experts, Mr. Fender, their claims still

fail.

        First, Mr. Fender’s expert testimony cannot save the majority of plaintiffs’ failure

to remove claims. Plaintiffs ostensibly assert a “failure to remove” theory of breach as to

every affiliated fund ever included in the Plan (save for the Stable Value Fund). But Mr.

Fender’s discussion of defendants’ purported “Failure to Monitor and Replace Imprudent

Investment Options” offers testimony of circumstances allegedly requiring removal for

                                               17
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 18 of 30



only two—the RiverSource Balanced Fund and the Retirement Plus Funds.10 (Ex. C,

Fender Report ¶¶ 168–230.)

       Second, the uncontroverted evidence is that defendants’ retention of these two

funds in the Plan beyond the dates Mr. Fender identifies did not cause the Plan any

injury. Take the RiverSource Balanced Fund, for instance: Mr. Fender cites




                                            . (Id. at ¶ 168.)



                 .” (Id. at 180.) But neither Mr. Fender nor Dr. Pomerantz offers any

evidence that the Plan was injured

                        . Dr. Pomerantz offers no such proof either. The reason is that

no such showing is possible: defendants’ expert has testified without contradiction that

calculated against plaintiffs’ own benchmark for the Balanced Fund’s performance (a

Vanguard index fund),

                                                                . (Ex. F, Conrad Report,

¶¶ 14, 43, Ex. 3.)




10
  Subsection C of this section of Mr. Fender’s report compares KIC’s monitoring of the
RiverSource Balanced and Retirement Plus Funds with the monitoring done by another
investment committee of an entirely different Plan and subsections D and E discuss
KIC’s conduct with respect to two fund mergers. (Ex. C, Fender Report ¶¶ 218–230.)


                                            18
CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 19 of 30
CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 20 of 30
   CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 21 of 30



                                         PART B

                                      BACKGROUND

       Plaintiffs’ claims against individual defendants Brent Sabin, an Ameriprise Vice

President for Benefits, and Michelle Rudlong, one of Mr. Sabin’s direct reports and

Director of Retirement Benefits, are based solely on the premise that the two were Plan

fiduciaries under ERISA. But employees in a company’s benefits department are not

subject to personal liability under ERISA’s fiduciary standards merely because they assist

in the routine operations of a retirement plan. If they were, few would serve. Instead,

ERISA imposes fiduciary status on such persons only to the extent they exercise

authority and control over the Plan or its assets. Performing administrative tasks, and

even making recommendations concerning matters of plan administration to the plan’s

named fiduciaries, do not convert a person into a fiduciary.

       Here, discovery has shown that others served as the Plan’s fiduciaries, and

plaintiffs have expressly disavowed their initial contentions concerning Mr. Sabin. While

plaintiffs have not similarly renounced their claims concerning Ms. Rudlong, the

evidentiary record makes clear that her role was to support the fiduciary committees

responsible for the Plan by performing limited, ministerial duties, without the authority or

control of a fiduciary. Because plaintiffs cannot show that either Mr. Sabin or Ms.




                                            21
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 22 of 30



Rudlong were fiduciaries, Mr. Sabin and Ms. Rudlong move for summary judgment on

all claims against them.11

                                   STATEMENT OF FACTS

       The Plan’s governing documents assign fiduciary responsibility to two

committees: KIC and the Employee Benefits Administration Committee (“EBAC”).

(See SAC ¶¶ 20 et seq.; 26 et seq.; Ex. H, AMER_KR2_000908983 (2010 Plan

Document §§ 2.4 and 2.36) (appointing the two committees), 10.1 (providing that each

committee is a named fiduciary), 10.3 and 10.4 (describing the two committees’ duties).)

       Though the committees delegated some of the Plan’s day-to-day administrative

operations to others, including Mr. Sabin and Ms. Rudlong, the delegates were required

to act in accordance with “policies, interpretations, rules, practices and procedures” set by

the committees or other fiduciaries, without exercising “discretionary authority or

control.”12 The language in these limitations is no accident. It tracks Department of

Labor guidance on what is fiduciary activity and what is not. See 29 C.F.R. § 2509.75-8

at D-2.

       Plaintiffs do not claim, nor could they, that Mr. Sabin or Ms. Rudlong were

members of either committee. Indeed, after having the benefit of discovery, plaintiffs

11
  Defendants contacted plaintiffs before filing this motion as to whether plaintiffs would
agree to stipulate to the dismissal of Mr. Sabin and Ms. Rudlong. Plaintiffs did not agree.
12
   (Ex. I, AMER_KR1_000035973 (3/15/2006 EBAC minutes); Ex. J,
AMER_KR2_000631007 (3/15/2006 EBAC meeting items); Ex. K,
AMER_KR1_000023151 (2/22/207 KIC minutes); and Ex. L, (2/22/2007 KIC meeting
items.).)


                                             22
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 23 of 30



disavowed their earlier allegations concerning Mr. Sabin’s fiduciary status, representing

to the Court that “Brent Sabin is only a vice president of benefits at Ameriprise and is not

even a Plan fiduciary.” (See Ex. M, Letter to Judge Mayeron, at 2 (arguing that Mr.

Sabin lacked the authority to opine on whether certain Plan information should be kept

confidential) (emphasis added).)13 This admission was consistent with the interrogatory

responses defendants had served earlier, which identified the committees and their

members as the fiduciaries, and identified Ms. Rudlong and Mr. Sabin as benefits staff

who performed ministerial functions supporting the committees. (See Ex. N, Defs.

Objections and Resps. to Pls. First Set of Interrogs. at 10-12, 21). It was also consistent

with Mr. Sabin’s sworn testimony. (See, e.g., Ex. O, Sabin Dep. 74:6-13 ) (“Q. The KIC

never delegated to you any responsibility or authorization or charge to do any work for

them, correct?” “A. The committee has asked me to do work, but I don’t make decisions

on behalf of the committee”).)14 To the extent Mr. Sabin understood himself to have any

fiduciary authority, it was only in connection with being recently confirmed as an


13
   The Court accepted plaintiffs’ argument that Mr. Sabin was not a fiduciary, but did not
agree that he was therefore unqualified to opine on confidentiality. (See Dkt. 506, Order
on Pls.’ Mot. to Redesignate and Unseal Docs., at 30 n.14 (“Plaintiffs[] . . . objected to
Sabin’s declaration because Sabin is ‘only a vice president of benefits’ and not a Plan
fiduciary. This objection is meritless. Merely because Sabin, who has served KIC for
years, is not a Plan fiduciary does not mean that he is unqualified to opine on the effect of
the disclosure of these documents.”).)

14 (See also, e.g., Ex. O, Sabin Dep. 93:17-94:10 (“A. KIC is the party responsible for
making the investment selections for the Plan. Q. Not you? A. Not me. … Q. Or your
department? A. Correct.”).)


                                             23
   CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 24 of 30



appointing fiduciary to the committees, and that status bears no connection to the

fiduciary acts challenged here regarding investment selection and recordkeeping fees.

       Plaintiffs have not expressly abandoned their assertions of fiduciary status as to

Ms. Rudlong, who reported directly to Mr. Sabin. (See, e.g., Ex. P, Rudlong Dep. 89:13-

22.) But the SAC includes no specific allegations that Ms. Rudlong acted as a fiduciary

with respect to the decisions plaintiffs challenge. The SAC simply refers to Ms.

Rudlong’s job title, offers a conclusory paraphrase of the statutory definition of a

fiduciary, and alleges that her administrative function as an EBAC delegate in signing

certain of the Plan’s Department of Labor filings qualify her as a Plan fiduciary. (SAC ¶

24.) The SAC does not allege that EBAC gave her any decision-making authority, or that

she had any role with KIC. Despite amending their complaint twice, plaintiffs have never

added more specific allegations concerning Ms. Rudlong.

       Discovery confirms that Ms. Rudlong did not serve on either fiduciary committee,

or have any responsibility for their decisions. (See Ex P, Rudlong Dep. 265:15-25;

266:1-11.) Instead, she served purely in a support capacity, performing ministerial tasks

without the authority to make final decisions. (See, e.g., id. at 81:13-20 (duties included

reviewing and approving invoices for fees others had determined); Ex. Q,

AMER_KR1_0000255623149 (9/12/2006 KIC minutes) (providing KIC with participant

data); Ex. R, 8/25/2009 KIC minutes (relaying feedback from plan participants).)

       For example, when Ameriprise spun off from American Express to form a new,

stand-alone company, Ms. Rudlong helped to complete the operational tasks required to

set up the new Plan’s recordkeeping system, but did not, inter alia, decide the Plan’s fee

                                             24
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 25 of 30



schedule or approve the terms of the Administrative Services Agreement between the

Plan and its recordkeeper. (Ex. P, Rudlong Dep. 29:5 -30:7; 35:2-22.) Similarly, Ms.

Rudlong supported Ameriprise’s efforts to benchmark the Plan’s recordkeeping fees and

negotiate with its service provider, but did not directly participate in the negotiations or

approve the results. (Ex. P, Rudlong Dep. 232:7-15.) Instead, EBAC approved the fee

terms, and Mr. Sabin executed the updated agreement on the committee’s behalf. (Ex. S,

(AMER_KR1_000035098) 5/21/2012 EBAC minutes; Ex. T, WF1447, 1149, 1172

(Master Services Agreement).) Moreover, Ms. Rudlong testified that beyond providing

information to KIC, she did not participate in the committee’s investment selection

discussions and had limited direct interaction with either committee. (See, e.g., Ex. P,

Rudlong Dep. 74:15-24; 189:8-20; 188:22-189:6.)

       Moreover, the responsibilities EBAC delegated to Ms. Rudlong concerned certain

trust to trust transfers, the authority to execute certain documents, and the ability to issue

certain participant communications—not tasks connected to the investment selections and

recordkeeping fees plaintiffs have challenged. (Ex. J, AMER_KR2_000631007.) While

EBAC reserved the right to assign other powers it might specifically approve (see id.),

there is no evidence that EBAC added any relevant fiduciary activities to Ms. Rudlong’s

portfolio. In short, to the extent Ms. Rudlong had any involvement with the conduct

plaintiffs challenge, it was purely as a benefits department employee supporting the

actual decision-makers.




                                              25
    CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 26 of 30



                                         ARGUMENT

       Plaintiffs seek relief against Mr. Sabin and Ms. Rudlong solely on the grounds that

they were Plan fiduciaries. But because neither functions as a fiduciary with respect to

the conduct challenged in the complaint, each is entitled to summary judgment on

plaintiffs’ claims. It is well settled that ERISA makes an entity a fiduciary only “to the

extent” that entity performs fiduciary functions. ERISA § 3(21)(A), 29 U.S.C. §

1002(21)(A); Pegram v. Herdrich, 530 U.S. 211, 225-26 (2000); Mertens v. Hewitt

Assocs., 508 U.S. 248, 252-53 (1993). An entity that is a plan fiduciary as to one

function is not necessarily a fiduciary with respect to other functions under the plan.

Pegram, 530 U.S. at 225-26; Maniace v. Commerce Bank, N.A., 40 F.3d 264, 267 (8th

Cir. 1994) (holding that a plan trustee is not necessarily a fiduciary for all plan purposes).

       Plaintiffs have altogether disavowed their allegation that Mr. Sabin served as a

Plan fiduciary. Whether this represented plaintiffs’ conclusion on the merits, or a

strategic choice to gain a litigation advantage in a particular context, plaintiffs are not

privileged to argue to the contrary now. And having represented to the Court that Mr.

Sabin was not a fiduciary, plaintiffs are hardly in a position to argue that his direct report

Ms. Rudlong was.

       ERISA provides that persons not formally identified as fiduciaries may take on

fiduciary status, but only “to the extent” that such persons exercise “discretionary

authority or discretionary control respecting management of such plan or exercise[] any

authority or control respecting management or disposition of its assets” or have

“discretionary authority or discretionary responsibility in the administration of such

                                              26
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 27 of 30



plan.” ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).15 A person who performs

ministerial, rather than discretionary, administrative functions, is not a fiduciary. See,

e.g., Christensen v. Qwest Pension Plan, 462 F.3d 913, 917 n.2 (8th Cir. 2006); see also

29 C.F.R. § 2509.75-8 (explaining that various ministerial tasks, including, inter alia,

preparation of employee communications material; preparation of reports required by

government agencies; and “making recommendations to others for decisions with respect

to plan administration” do not convey fiduciary status when performed under policies set

by others).

       In light of the statute and regulatory guidance, courts have repeatedly rejected

claims against non-fiduciary employees and service providers who perform plan-related

tasks at the direction of those with fiduciary authority. See, e.g., Anoka Orthopaedic

Assoc., P.A. v. Lechner, 910 F.2d 514, 517 (8th Cir. 1990) (affirming summary judgment

for defendants whose responsibilities did “not entail discretionary authority or

responsibility within the meaning of 29 U.S.C. § 1002(21)(A)”); Truman Bank 401(K)

Profit Sharing Plan v. Levin, 2007 U.S. Dist. LEXIS 81917, *15-18 (E.D. Mo. Nov. 5,

2007) (finding that plan trustee was not a fiduciary where plan language explicitly

restricted trustee’s authority).16 Preparing the annual Form 5500, the only specific

15
  The statute also contains provisions, not relevant here, concerning the status of certain
mutual fund companies and persons who are compensated for providing investment
advice.
16
  See also, e.g., Taylor v. Peoples Natural Gas Co., 49 F.3d 982, 987 (3d Cir. 1995)
(affirming judgment that defendant who had authority to “prepare reports concerning
participants’ benefits [] and calculate the costs of alternative plan amendments on behalf

                                             27
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 28 of 30



conduct the SAC attributes to Ms. Rudlong, is not fiduciary activity. See, e.g., Searls v.

Sandia Corp., 2014 WL 4793491, at *10 (E.D. Va. Sept. 25, 2014) (dismissing claims

against purported fiduciary who prepared and filed a Form 5500); Aloha Dog & Cat

Hosp., P.C. v. Standard Ret. Servs., Inc., 2010 WL 5232950, at *8 (D. Or. Sept. 3, 2010)

(preparation of Form 5500 a ministerial duty), adopted by, 2010 WL 5232997 (Dec. 16,

2010).

         While Ms. Rudlong ably assisted the committees and performed a variety of

operational tasks, she did so subject to processes and procedures determined by others.

Plaintiffs cannot show she had any authority to make the final investment selection and

recordkeeping decisions that plaintiffs challenge. See Groska v. N. States Power Co.

Pension Plan, 2007 WL 2791119, at *5 (D. Minn. Sept. 24, 2007) (citing 29 C.F.R. §

2509.75-8 and granting summary judgment where plaintiff presented no evidence that

defendant “possessed power to make decisions as to plan policy, interpretations, practices

or procedures”).17 Consequently, she was not a fiduciary. Moreover, because plaintiffs


of the plan administrator” was not a fiduciary); Miller v. Mellon Long Term Disability
Plan, 721 F. Supp. 2d 415, 426 (W.D. Pa. 2010) (“[f]iduciary status does not simply
attach to any administrative activity, but rather, only to the person (or entity) who has
final authority” for, in that context, benefits decisions); N.Y. State Teamsters Council
Health and Hosp. Fund v. Centrus Pharm. Solutions, 235 F. Supp. 2d 123, 127
(N.D.N.Y. 2002) (manager who could make benefit program recommendations was not a
fiduciary where another entity bore “ultimate responsibility for all decisions” and must
approve recommendations before adoption).
17
  Moreover, the limited authority EBAC delegated to Ms. Rudlong did not implicate the
investment selection and recordkeeping decisions at issue here. It is well settled that
ERISA makes a person a fiduciary only “to the extent” that person performs fiduciary

                                            28
     CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 29 of 30



cannot show that she or Mr. Sabin are fiduciaries, plaintiffs’ claims that each fiduciary is

liable for the other fiduciaries’ breaches as an ERISA co-fiduciary are inapplicable to

both and must be denied. (See, e.g., SAC ¶ 116 citing ERISA §405(a), 29 U.S.C. §

1105(a).)18

                                       CONCLUSION

       For the reasons stated in Part A, plaintiffs’ failure to remove claims under Count I

of their Second Amended Complaint must be summarily adjudicated in defendants’

favor. For the reasons stated in Part B, the Court should grant Ms. Rudlong’s and Mr.

Sabin’s motion for summary judgment on all claims against them.




functions. Pegram, 530 U.S. at 225-26. Liability does not attach to particular conduct
unless the person is a fiduciary with respect to the activity in question. See, e.g., Truman
Bank 401(K) Profit Sharing Plan, 2007 U.S. Dist. LEXIS 81917 at *15-18.
18
   Even if Ms. Rudlong were a fiduciary for some limited purpose, plaintiffs could not
prevail on claims for co-fiduciary liability without showing that she knowingly breached
her duties, or knowingly participated in other fiduciaries’ breaches—a finding for which
the SAC offers no specific factual contentions. See ERISA § 405(a); 29 U.S.C. §
1105(a); Jones v. Sun Edison, Inc., 2014 WL 1213471, at *30 (E.D. Mo. Mar. 24, 2014)
(granting motion to dismiss co-fiduciary liability claims concerning a plan investment),
citing Donovan v. Cunningham, 716 F.2d 1455, 1475 (5th Cir. 1983) (explaining that a
“fiduciary must know the other person is a fiduciary with respect to the plan, must know
that he participated in the act that constituted a breach, and must know that it was a
breach”).




                                             29
   CASE 0:11-cv-02781-SRN-JSM Document 512 Filed 10/24/14 Page 30 of 30




Dated: October 24, 2014      s/ Brian D. Boyle

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                                     30
